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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


ALTON WILLIAMS, BRANDON
HERNDON, and MARKUS TOLSON, on                       Case No.
behalf of themselves and all others similarly
situated,
                                                     Jury Trial Requested
               Plaintiffs,

       v.

STATE FARM MUTUAL AUTOMOBILE
INSURANCE CO., STATE FARM LIFE
INSURANCE CO., STATE FARM FIRE
AND CASUALTY CO., STATE FARM
GENERAL INSURANCE CO., and STATE
FARM BANK, F.S.B.,

               Defendants.


                                         COMPLAINT

       Plaintiffs Alton Williams (“Williams”), Brandon Herndon (“Herndon”), and Markus

Tolson (“Tolson”) (collectively “Plaintiffs”), through their counsel Stowell & Friedman, Ltd.,

and Leinenweber Baroni & Daffada, LLC, on behalf of themselves and all others similarly

situated, file this complaint of race discrimination and retaliation against Defendants State Farm

Mutual Automobile Insurance Company, State Farm Life Insurance Company, State Farm Fire

and Casualty Co., State Farm General Insurance Co., and State Farm Bank, F.S.B., and in

support state as follows:

                                JURISDICTION AND VENUE

       1.      Plaintiffs’ claims arise under 42 U.S.C. § 1981, and this Court has jurisdiction

over this matter pursuant to 28 U.S.C. §§ 1331 and 1343.




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       2.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b). State Farm

conducts business throughout this District, and Plaintiff Williams worked for and was harmed by

State Farm in this District. The unlawful conduct alleged in this Complaint occurred in this

District and across the United States.

                                            PARTIES

       3.      State Farm Mutual Automobile Insurance Company is the parent company of

State Farm Life Insurance Company, State Farm Fire and Casualty Company, State Farm

General Insurance Company, and State Farm Bank, F.S.B., (collectively “State Farm,” “the

Firm,” or “Defendants”). All of these entities are Illinois corporations with their principal place

of business in Bloomington, Illinois.

       4.      Plaintiff Alton Williams is African American and worked for State Farm as an

Agent from 1999 until he was unlawfully terminated on December 31, 2017. Williams

competently discharged all duties assigned to him and enjoyed an excellent reputation with

regard to the high quality of his work and his dedication to his job. Nevertheless, pursuant to its

discriminatory policies and practices, State Farm subjected Williams to race discrimination

throughout his employment.

       5.      Plaintiff Brandon Herndon is African American and worked for State Farm as an

Agent from 2010 until he was unlawfully terminated on March 17, 2017. Throughout his

employment, Herndon competently discharged all duties assigned to him and enjoyed an

excellent reputation regarding the high quality of his work and his conscientious devotion to his

job. Nevertheless, pursuant to its discriminatory policies and practices, State Farm subjected

Herndon to discrimination and retaliation for challenging discriminatory practices.




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       6.      Plaintiff Markus Tolson is African American and worked for State Farm as an

Agent from October 2009 until he was unlawfully terminated around August 2016. Throughout

his employment, Tolson competently discharged all duties assigned to him and enjoyed an

excellent reputation with regard to the high quality of his work and his devotion to his job.

Pursuant to its discriminatory policies and practices, however, State Farm subjected Tolson to

discrimination and retaliation for challenging discriminatory practices.

                                  FACTUAL ALLEGATIONS

I.     State Farm Has and Is Engaged In Firm-Wide Systemic Discrimination Against
       African Americans.

       7.      State Farm claims to insure more cars and homes than any other insurer in the

United States, and it is currently ranked number 36 on the Fortune 500 list of largest companies

in the United States. State Farm offers insurance and financial products to customers through the

workforce of Agents that it employs across the United States. State Farm requires each of its

Agents to sign nearly identical Agent Agreements that govern the employment relationship and

dictate the conditions under which the Agents may offer State Farm’s insurance and financial

products to customers.

       8.      State Farm maintains strict, centralized control over its Agents from its company

headquarters in Bloomington, Illinois, where an almost exclusively white team of senior

executives issues mandatory company policies and practices that apply to all Agents in the State

Farm workforce. State Farm is engaged in a firm-wide pattern and practice of discrimination

against African American Agents in their terms and conditions of employment. State Farm

designs and maintains uniform, company-wide policies and practices that discriminate against

African American Agents and advantage non-African American Agents at the expense of

African American Agents.



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       9.      Among other things, State Farm’s discriminatory policies and practices steer

African Americans to less lucrative agencies and territories; deny them valuable business

opportunities and resources; subject them to heightened scrutiny and differential discipline; and

result in lower pay than Agents who are not African Americans.

Territory and Agency Assignment

       10.     State Farm employs company-wide policies and practices for assigning territories

and agency locations that discriminate against African American Agents. Pursuant to these

policies and practices, State Farm assigns the most lucrative territories and agency locations to

Agents who are not African American while assigning African American Agents less lucrative

and more problematic agencies and territories on the basis of their race.

       11.     State Farm disproportionately gives non-African American Agents a head start in

their careers by allowing them to take over existing agencies with a book of business from

Agents who have moved or who no longer work for the Firm. By contrast, State Farm generally

requires African American Agents to start new agencies from “scratch” and without existing

insurance policies or financial products.

       12.     In addition, State Farm disproportionately assigns non-African American Agents

to territories and agency locations in areas with more affluent populations, while relegating

African American Agents to areas with considerably less wealth. The Firm also engages in “race

matching,” by assigning African American Agents to areas with higher African American and

minority populations.

       13.     State Farm’s policy and practice of disproportionately assigning non-African

American Agents to territories and agency locations in more affluent areas affords them greater

opportunities to generate income, in part, because wealthy customers have more need for and




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ability to purchase insurance and financial products than customers with lower incomes and less

wealth. More affluent customers are also more likely to pay their bills on time, freeing the

Agents who serve them from the need to hire employees and use resources to engage in

collection efforts for overdue premiums, and allowing the Agents to devote more resources to

sales.

          14.   State Farm also disproportionately authorizes non-African American Agents to

expand their agencies to additional locations, while denying those income-generating

opportunities to African American Agents.

Insurance Policy and Financial Product Assignments

          15.   State Farm’s company-wide policies and practices for assigning insurance

policies and financial products give the most lucrative business opportunities to Agents who are

not African American, and assign African American Agents less lucrative business opportunities.

          16.   When an Agent retires or leaves the Firm, State Farm reassigns the Agent’s

customers and existing insurance policies to other Agents. Agents who receive these assignments

gain not only the value of these policies and any financial products the customers may have, but

also ongoing commissions and the opportunity to grow the customers’ accounts or to gain new

customers through leads and referrals. Thus, the discriminatory distribution of policies has a

substantial impact on the number, value, and quality of policies and accounts that Agents

manage, and on their compensation. Pursuant to State Farm’s discriminatory policies and

practices, African Americans are largely excluded from being assigned lucrative insurance

policies, even when they achieve high-performance distinctions.




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       17.     When State Farm does assign insurance policies to African American Agents,

they are generally fewer in number, more problematic, and less lucrative than those that State

Farm assigns to non-African American Agents.

       18.     Moreover, because of State Farm’s discriminatory policies and practices

regarding assignment of territories and agency locations, it is more difficult for African

American Agents to retain any policy assignments they receive.

       19.     Similarly, in addition to denying African American Agents business

opportunities, State Farm provides Agents who are not African American with valuable

resources and support, which are denied to African American Agents.

Compensation and the Scorecard Bonus

       20.     State Farm employs intentionally discriminatory compensation policies and

practices that provide widely divergent compensation to Agents depending on their race.

       21.     Among other discriminatory compensation practices, State Farm provides

substantial compensation to its Agents pursuant to a uniform, nationwide compensation policy

and practice called the “Scorecard Bonus.” State Farm intentionally selects and relies on factors

that disadvantage African Americans to calculate eligibility for and the amount of the Scorecard

Bonus paid to Agents.

       22.     Because State Farm uses commission-based and cumulative-advantage systems to

evaluate and compensate its Agents, a level playing field and fair distribution of resources and

business opportunities are essential. However, State Farm’s discriminatory policies and

practices deny African American Agents opportunities, resources, and substantial compensation.

       23.     For example, State Farm steers African American Agents toward less affluent

territories and/or assigns them to territories in which the clientele match the Agents’ race.




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African American Agents are therefore disadvantaged because many of the clients in their

territories cannot afford to purchase financial service products and purchase fewer or less

expensive insurance products. Further, the Firm intentionally distributes more, and more

lucrative, policies and financial products to non-African American Agents, and denies similarly

situated African American Agents such distributions. Moreover, State Farm targets African

American Agents for compliance issues, denying African American Agents the opportunity to

offer financial products to their clients.

        24.     Because of these and other company-wide policies and practices, African

American Agents are substantially less likely than non-African American Agents to meet the

requirements of the Score Card Bonus policy. State Farm employs these and other policies and

practices to discriminate against African American Agents and to deny compensation to African

American Agents.

Compliance Auditing, Discipline, and the Termination Review Plan

        25.     State Farm’s company-wide policies and practices regarding performance,

compliance, discipline, and termination discriminate against African American Agents. These

discriminatory policies and practices are designed to target African American Agents and force

them to either resign or be terminated.

        26.     Pursuant to its discriminatory policies and practices, State Farm subjects African

American Agents to heightened scrutiny, holds them to higher compliance standards, and

imposes greater discipline, including termination, on African American Agents for alleged

violations of Firm policies than it does on similarly situated non-African American Agents. State

Farm disproportionately audits and disciplines African American Agents.




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       27.     Among other discriminatory practices, State Farm disproportionately denies or

rescinds the right of African American Agents to offer financial products. The inability to offer

financial products limits an Agent’s compensation, and makes an Agent ineligible to open a

second agency location or receive policy assignments. Non-African American Agents’ policy

violations are routinely ignored or result in lesser discipline, and they are routinely assigned

lucrative policy assignments and eligible to offer financial products, compounding their success

and the racial disparity in earnings.

       28.     State Farm employs a centralized practice called the “Termination Review Plan.”

Agents who have been informed that the Firm intends to terminate their Agent Agreement may

request a termination review from State Farm’s Chief Executive Officer (“CEO”) pursuant to

policies and practices approved by State Farm’s Board of Directors.

       29.     A State Farm review team makes findings and/or recommendation for the CEO

who makes the final decision of whether to terminate the Agent.

       30.     State Farm’s centralized system for terminating Agents is poisoned by racial bias

and intentional discrimination, and results in significant racial disparities between Agents whom

State Farm elects to terminate and those it decides to continue to employ.

       31.     Moreover, when State Farm terminates African American Agents, their policies

are disproportionately divided among non-African American Agents, further compounding the

racial inequities within the Firm.

II.    Plaintiffs Were Subjected to and Injured By State Farm’s Unlawful Conduct

Plaintiff Alton Williams

       32.     In 1992, State Farm hired Plaintiff Alton Williams, who had just graduated from

college and was eager to make his mark and become a successful Agent. Williams had interned




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for State Farm while in college and worked his way up to claim representative, and finally to

Agent.

         33.   After qualifying to become an Agent, Williams applied to open his agency on

Chicago’s north side. There were two available locations, one in the prosperous Lakeview

neighborhood and another in a more racially diverse, working class neighborhood further west.

Williams requested the Lakeview location; however, pursuant to its discriminatory assignment

practices, State Farm assigned a white Agent to the more lucrative Lakeview location and gave

Williams the less lucrative location further west. Williams was forced to remain in his territory

and State Farm did not offer him a more lucrative agency or location for the remainder of his

employment.

         34.   Despite State Farm denying him the more lucrative agency location, Williams

excelled as an Agent. He achieved President’s Club and earned the President’s Club Trophy

award, among other achievements and accolades. Consistent with its treatment of other African

American Agents, State Farm denied Williams business opportunities and valuable business

resources and support, including but not limited to policy assignments, throughout his tenure

because of his race.

         35.   Consistent with its discriminatory review and discipline practices, State Farm

targeted Williams for heightened, unwarranted scrutiny and ultimately terminated his

employment because of his race. Around September 2017, State Farm audited Williams’s

business. During the course of the audit, State Farm identified a small number of auto policies

that had incorrect vehicle purchase dates listed on the applications. State Farm unfairly and

inaccurately charged Williams with “rate manipulation” and terminated his employment.

Any inaccuracies were the result of customer or clerical error, not intentional manipulation, as




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they had no material impact on the price of the supposedly manipulated policies. Williams is

aware of non-African American agents who were accused of similar “rate manipulation” and

were subjected to far less or no discipline.

          36.   Williams participated in the discriminatory Termination Review Plan, and

CEO Michael Tipsord decided to terminate Williams’s employment. State Farm did not

discipline, let alone terminate, non-African American Agents with similar or greater compliance

issues.

          37.   On several occasions, Williams reported to his superiors at State Farm that he was

being treated differently than his non-African American colleagues. For example, Williams

explained to State Farm management the racial disparity in the level of compliance auditing and

discipline to which State Farm subjects its African American Agents as compared to its non-

African American Agents. Rather than investigate or otherwise address his concerns, State Farm

targeted Williams for increased scrutiny, ongoing discrimination and harassment, and,

ultimately, termination.

          38.   As a result of State Farm’s unlawful conduct and discriminatory policies and

practices, Williams has suffered substantial harm. He has lost wages and other benefits, suffered

emotional distress, and his career and reputation have been irreparably damaged.

Plaintiff Brandon Herndon

          39.   Plaintiff Brandon Herndon joined State Farm as an Agent in June 2010, after a

successful career in pharmaceutical sales. Despite Herndon being an experienced and successful

sales leader, pursuant to its firm-wide discriminatory practices, State Farm denied Herndon

business opportunities and resources it regularly provided to non-African American Agents at

State Farm.




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       40.     Herndon sought to open an agency in the Houston area, specifically in the affluent

Sugar Land area where he and his wife lived. However, pursuant to its discriminatory assignment

practices, State Farm required Herndon to instead locate his agency in southwest Houston, a less

affluent community with a large African American population. State Farm placed Herndon in

this territory because of his race. When Herndon expressed concern about his placement, State

Farm told Herndon he would “fit right in” and “understand the demographic,” or words to that

effect. State Farm believed that Herndon “belonged” in a territory where many of the potential

customers would be African American.

       41.     Shortly after Herndon opened his agency in southwest Houston, State Farm

placed two non-African American Agents in Sugar Land, and State Farm gave a white Agent a

sizeable existing book of business.

       42.     Because State Farm did not give Herndon an existing agency, he had to build his

book of business from scratch. Moreover, because his community was predominately working-

class and lacked wealth, Herndon’s agency required significantly more overhead to operate than

it would have in Sugar Land and other more affluent areas. Unlike the more affluent

communities in and around Houston, the potential clients in Herndon’s territory often had little

disposable income, which made it difficult to sell life insurance policies or financial products and

limited Herndon to selling fewer, less lucrative auto and home policies.

       43.     State Farm rejected Herndon’s repeated requests to be assigned a more lucrative

market or open an additional agency in another territory. State Farm made clear that its decisions

were based on its race-matching of Agents with potential customers. State Farm told Herndon

that he needed to hire a “black guy and a Hispanic guy” to be successful.




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       44.       Despite these challenges, Herndon excelled as an Agent. In his first six months,

Herndon was in the top 10 nationally for new Agent business, and within 18 months, he had built

a $1.8 million book of business consisting of mostly auto insurance policies.

       45.       State Farm did not reward Herndon’s successes in the same manner it did for his

non-African American colleagues. Throughout Herndon’s employment, State Farm denied

Herndon a new agency or territory, as well as lucrative policy assignments and other business

opportunities, resources, and support.

       46.       One of the only instances in which Herndon received any policy assignments was

when an Agent in southwest Houston retired and Herndon received a small number of his

policies, worth about ten thousand dollars per year. Meanwhile, several of Herndon’s non-

African American Agent colleagues received policies worth hundreds of thousands of dollars in

a single year.

       47.       Indeed, when a 40-year agent with a considerable book of business located near

Herndon announced his plan to retire, the retiring agent told Herndon that he wanted Herndon to

inherit his book of business. It is common practice for retiring agents at State Farm to select an

agent to inherit their book of business. State Farm refused to approve Herndon taking over the

retiring agent’s book of business. Indeed, State Farm refused to assign Herndon any accounts

from his business. Herndon informed his manager of his belief that State Farm denied him

policies and the book of business from the retiring agent because of his race. His manager did not

deny this or investigate the issue, but just issued a warning to Herndon not to “go there” or words

to that effect. After this complaint, State Farm retaliated against Herndon by denying him any

policy assignments for the remainder of his time at the Firm, subjecting him to increased

scrutiny, and ultimately terminating him.




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       48.     In addition, State Farm awarded several of Herndon’s non-African American

colleagues permission to open second or even third agencies, lucrative business opportunities

State Farm denied Herndon.

       49.     Pursuant to State Farm’s discriminatory policies and practices and in retaliation

for making a protected complaint of race discrimination, State Farm subjected Herndon to

heightened, unwarranted, and discriminatory scrutiny and discipline. State Farm terminated

Herndon after he sold some auto insurance policies to ride-share drivers. Herndon had sold the

policies because a State Farm underwriter told him he was authorized do so. State Farm later

informed Herndon that the underwriter had been mistaken, and that ride-share driver policies

were not approved in Texas. Herndon immediately contacted his customers and informed them

that their ride-share driver policies would be terminated. Nonetheless, State Farm refused to

renew his contract and terminated his Agent Agreement. A few days later, State Farm announced

it would immediately begin offering ride-share driver polices in Texas, plainly demonstrating the

reason for Herndon’s termination was pretextual.

       50.     State Farm did not similarly target, discipline, or terminate Agents who are not

African American, even those who engaged in serious violations of State Farm policies.

       51.     As a result of State Farm’s discriminatory practices and unlawful conduct,

Herndon has suffered substantial damages. He has lost wages and other benefits, suffered

emotional distress, and his career and reputation have been irreparably damaged.

Plaintiff Markus Tolson

       52.     Plaintiff Markus Tolson became a State Farm Agent in October 2009, after he

worked for several years as a licensed sales representative for another State Farm Agent in

Houston.




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       53.     Despite Tolson’s significant experience with State Farm and in the sale of

insurance products, State Farm denied Tolson business opportunities and resources regularly

provided to non-African American Agents.

       54.     Tolson initially selected the River Oaks neighborhood in Houston for his agency

location. At that time, State Farm needed to find a new Agent to take over an existing agency in

River Oaks that had a considerable book of business. Consistent with its discriminatory policies

and practices, however, State Farm instead gave the location to a non-African American Agent

and placed Tolson back into a pool of Agents waiting for a location assignment. State Farm

eventually assigned Tolson the less lucrative Greater Heights territory, where he was required to

start an agency from scratch with no established book of business. Tolson was forced to remain

in his territory, and State Farm did not offer him a more lucrative agency or location for the

remainder of his employment.

       55.     Despite being assigned to a less lucrative territory without an existing book of

business, Tolson worked hard to achieve success at State Farm. He earned President’s Club and

Chairman’s Circle distinctions. Nevertheless, pursuant to its discriminatory practices, State Farm

denied Tolson policy assignments and compensation. For example, Tolson received only a

handful of policy assignments throughout his tenure at State Farm, while his non-African

American colleagues received policy assignments worth hundreds of thousands of dollars, which

generated substantial revenues, referrals, and additional business and compensation. Tolson often

pointed out to State Farm management that non-African American agents in his region were

receiving far more policy distributions than he was. State Farm never investigated or addressed

Tolson’s concerns and State Farm continued its policy of assigning non-African American agents

the lion-share of policy assignments.




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       56.     Despite State Farm’s discriminatory policies and practices, Tolson continued to

excel, especially in the sale of financial products. As Tolson sold more financial products, he

grew concerned that State Farm, consistent with its policy and practice, would target him and

subject him to increased scrutiny because of his race. Tolson expressed this fear to his manager

that State Farm would single him out for increased scrutiny and discipline because he was a

high-achieving African American Agent. To be diligent and attempt to protect himself, Tolson

required his employees complete more compliance training than State Farm required.

       57.     However, consistent with State Farm’s discriminatory practices, and in retaliation

for complaining of racial discrimination, Tolson faced heightened scrutiny and unwarranted and

differential discipline. State Farm terminated Tolson after one of his employees allegedly

violated a State Farm policy, even though Tolson was unaware of the alleged violation and fired

the sales representative as soon as he learned about the situation. State Farm did not similarly

target, discipline, or terminate non-African American Agents, even those who engaged in serious

violations of State Farm policies.

       58.     Tolson participated in the discriminatory State Farm Termination Review Plan,

and CEO Michael Tipsord made the final decision to terminate him because of his race.

       59.     As a result of State Farm’s unlawful conduct and discriminatory policies and

practices, and in retaliation for complaining of racial discrimination, Tolson has suffered

substantial harm. He has lost wages and other benefits, suffered emotional distress, and his

career and reputation have been irreparably damaged.

                                     CLASS ALLEGATIONS

       60.     Plaintiffs bring this action pursuant to Rule 23 of the Federal Rules of Civil

Procedure on behalf of a class of African Americans who work or worked for State Farm as




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Agents or Term Independent Contractor Agents. The proposed class meets all requirements for

class certification under Federal Rule of Civil Procedure 23.

       61.     The class of African American employees and former employees is so numerous

and geographically disbursed that joinder of all members is impracticable. FED. R. CIV. P.

23(a)(1).

       62.     There are numerous questions of law and fact common to the class, and those

questions can and should be resolved in a single proceeding that furthers this litigation. FED. R.

CIV. P. 23(a)(2).

       63.     The claims alleged by Plaintiffs are typical of the claims of the class members.

FED. R. CIV. P. 23(a)(3).

       64.     Plaintiffs will fairly and adequately represent and protect the interests of the class,

and they have retained competent and experienced counsel to represent the class. FED. R. CIV. P.

23(a)(4).

       65.     The proposed class meets the requirements for certification under Rule 23(b)(2)

and Rule 23(b)(3). The questions of law and fact common to the members of the class

predominate over any questions affecting only individual members, and a class action is superior

to other available methods for the fair and efficient adjudication of the controversy. FED. R. CIV.

P. 23(b)(3).

       66.     The issues of determining liability and equitable and injunctive relief, among

other issues, are appropriate for certification under Rule 23(c)(4), as are other common issues.




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                                             COUNT I

                          RACE DISCRIMINATION IN VIOLATION OF
                                     42 U.S.C. § 1981

        67.     Plaintiffs, on behalf of themselves and those similarly situated, reallege the above

paragraphs and incorporate them by reference as though fully stated herein as part of Count I of

this Complaint.

        68.     42 U.S.C. § 1981 guarantees persons of all races the same right to make and

enforce contracts, regardless of race. The term “make and enforce” contracts includes the

making, performance, modification, and termination of contracts, and the enjoyment of all

benefits, privileges, and conditions of the contractual relationship.

        69.     State Farm maintains a nationwide set of uniform, discriminatory employment

policies and practices and engaged in a pattern or practice of systemic race discrimination against

African Americans that constitutes illegal intentional racial discrimination in violation of

42 U.S.C. § 1981.

        70.     Through the conduct alleged herein, State Farm denied Plaintiffs and other

African American Agents opportunities and resources valuable to their careers because of their

race. State Farm also discriminated against Plaintiffs and all other similarly situated African

American Agents in compliance auditing, discipline, termination, compensation, performance

evaluation, promotions, and in other terms and conditions of their employment.

        71.     Plaintiffs and all those similarly situated were subjected to and harmed by

State Farm’s systemic and individual discrimination.

        72.     On behalf of themselves and the class they seek to represent, Plaintiffs request the

relief set forth below.




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                                             COUNT II

                              RETALIATION IN VIOLATION OF
                                     42 U.S.C. § 1981

        73.     Plaintiffs Herndon and Tolson, individually, reallege the above paragraphs and

incorporate them by reference as though fully stated herein as part of Count II of this Complaint.

        74.     Plaintiffs engaged in protected activity by complaining of their unlawful

treatment.

        75.     Plaintiffs suffered retaliation and harm because of their protected activity, in

violation of 42 U.S.C. § 1981.

        76.     On behalf of themselves, individually, Plaintiffs Herndon and Tolson request the

relief set forth below.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that this Court find in favor of them and the class

they seek to represent and against Defendants as follows:

        a. Certify this case as a class action;

        b. Designate Plaintiffs as Class Representatives and designate Plaintiffs’ counsel of
           record as Class Counsel;

        c. Declare the State Farm acts, conduct, policies and practices alleged herein are
           unlawful and violate the federal statutes identified in the Counts alleged against them
           set forth above;

        d. Declare that State Farm engages in a pattern and practice of racial discrimination
           against African Americans;

        e. Order that State Farm stop discriminating and retaliating against African Americans;

        f. Order Plaintiffs and all others similarly situated reinstated to their appropriate
           positions, promotions, and seniority, and otherwise make Plaintiffs whole;




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       g. Award Plaintiffs and all others similarly situated the value of all compensation and
          benefits lost and that they will lose in the future as a result of State Farm’s unlawful
          conduct;

       h. Award Plaintiffs and all other all others similarly situated compensatory and punitive
          damages;

       i. Award Plaintiffs and all others similarly situated prejudgment interest and attorneys’
          fees, costs, and disbursements, as provided by law;

       j. Award Plaintiffs and all others similarly situated such other make whole equitable,
          injunctive, and legal relief as this Court deems just and proper to end the
          discrimination and fairly compensate Plaintiffs;

       k. Declare that State Farm’s actions and conduct constitute unlawful retaliation as to
          Plaintiffs Herndon and Tolson, individually, pursuant to 42 U.S.C. § 1981; and

       l. Award Plaintiffs and all others similarly situated such other relief as this Court deems
          just and proper.

                               DEMAND FOR A JURY TRIAL

       Plaintiffs hereby demand a jury trial as provided for by Rule 38 of the Federal Rules of

Civil Procedure.

                                      Respectfully submitted on behalf of Plaintiffs and those
                                      similarly situated,
                                        s/ Suzanne E. Bish
Linda D. Friedman
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